                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                  Plaintiff,                  )
                                              )
      v.                                      )      Criminal Action No.
                                              )      09-04003-03-CR-C-NKL
WILLIAM R. BOYD,                              )
                                              )
                  Defendant.                  )

                          ACCEPTANCE OF PLEA OF GUILTY
                           AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge William

Knox, to which no objection has been filed, the plea of guilty to Count 41 and 44 of the

Superseding Indictment entered on July 6, 2009 is now accepted. Defendant is adjudged guilty

of such offense.       Sentencing will be set by subsequent order of the court.




                                                      s/ NANETTE K. LAUGHREY
                                                     NANETTE K. LAUGHREY
                                                     United States District Judge

Dated: April 8, 2010




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